Case 2:03-Cv-02754-.]PI\/|-tmp Document 58 Filed 08/15/05 Page 1 of 3 Page|D 107

 

IN THE UNITED sTA'rEs DIsTRIcT couRT Fn,ED BY ._ D.C-
FoR THE wEsTERN DIsTRIcT oF TENNF.ssEE
wEsTERN DIvIsIoN 05 AUG 15 PH 2= 011
MQASMGOU‘LD
LEsLIE D. cHAMBERs, IRIs Ci_ERK U\S.§;§SM§CTCQUT
cHAMeERs and DeLYNN cHAMBERs, WFD’OF if`é.?‘»iriimv
INc.,
Plaintiffs,
V.

No. 03-2754 Ml/P
AL FREEMAN, Individually and
in his capacity as a Deputy
Sheriff of Fayette Countyr
Tennessee, DAN FEATHERS,
Individually and in his
capacity as an Officer of the
City of Somerville, Tennessee
Police Department, TOM TAYLOR,
Individually and in his
capacity as an officer of

the Memphis Police Department,

vvvvvvvvwv\-I"vvvvvvvwv

Defendants.

 

JUDGMENT

 

JUDGMENT BY COURT. Thie action came to consideration before the
Court. The issues have been considered and a decision has been
rendered.

IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that, in
accordance with the Order Granting Motion for Summary Judgment of
Defendant Al Freeman, Order Granting Motion for Summary Judgment
of Defendant Dan Feathers, and Order of Dismissal, filed August
ll, 2005, judgment is hereby entered in favor of Defendants Al
Freeman and Dan Feathers and against Plaintiffs Leslie D.
Chambers, Iris Hancock Chambers, and DeLynn Chambers, Inc.
Plaintiffs claims against those Defendants are dismissed with
prejudice. Judgment is also entered in favor of Defendant Tom
Taylor and against Plaintiffs. Plaintiffs' claims against
Defendant Taylor are dismissed without prejudice.

Thie document entered on the docket sheet m compliance
wrrh eula se and/or rs(a) FHCP on ' 15 'OS~

 

Case 2:03-Cv-02754-.]PI\/|-tmp Document 58 Filed 08/15/05 Page 2 of 3 Page|D 108

APPROVED: (TLEQEQR

 

 

 

_ l
l) '
Dat Clerk of Court

l §v@sz“/,`

(ByM Deputy Cle;k

UNTED STATES DISTRICT COURT - WESTNERDISTCRIT OF'TNI\I'ESSEE

   

Notice of Distribution

This notice confirms a copy cf the document docketed as number 58 in
case 2:03-CV-02754 Was distributed by faX, mail, or direct printing on
August 15, 2005 to the parties listed.

 

 

.1 ames T. Alliscn

LAW OFFICE OF JA1\/[ES T. ALLISON
100 North Main Bldg.

Ste. 2309

1\/lemphis7 TN 38103

Edward J. McKenney

HARRIS SHELTON HANOVER V\MLSH7 PLLC.
One Ccmmerce Square

Ste. 2700

1\/1emphis7 TN 38103--255

William B. Mauldin

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

lackson7 TN 38305

.1 ames I. Penteccst

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

lackson7 TN 38305

Honcrable .1 on McCalla
US DISTRICT COURT

